                                IN THE UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF VIRGINIA
                                         ROANOKE DIVISION

                                CRIMINAL MINUTES - GENERAL MINUTES

  Case No.: 4:18CR11                                                       Date: 9/13/2019


  Defendant:                                               Counsel:
  US v Marcus J. Davis, et al

  4:18-cr-00011-MFU-RSB-1 Marcus Jay Davis                 Tony Anderson, Bev Davis
  4:18-cr-00011-MFU-RSB-2 Kevin Lamont Trent, Jr.          Aaron Cook, Jimmy Turk
  4:18-cr-00011-MFU-RSB-3 Kanas Lamont'e Trent             Bonnie Lepold, Mike Hemenway
  4:18-cr-00011-MFU-RSB-4 Deshaun Lamar Trent              Chris Kowalczuk, Patrick Kenney
  4:18-cr-00011-MFU-RSB-5 Phillip Daekwon Miles            Tyson Daniel, Bob Rider
  4:18-cr-00011-MFU-RSB-6 Shabba Larun Chandler            Aaron Houchens, Jeff Dorsey
  4:18-cr-00011-MFU-RSB-8 Ashley Tiana Ross –              Terry Grimes
  waived appearance rights
  4:18-cr-00011-MFU-RSB-10 Tenikqua Fuller-                Corey Diviney
  waived appearance rights

  4:18-cr-00011-007 Matthew Ferguson                       Fred Heblich



  PRESENT:        JUDGE:                  Michael F. Urbanski, CUSDJ
                  TIME IN COURT:          9:42-12:03; 12:27-1:38 3h 32m
                  Deputy Clerk:           Kristin Ayersman
                  Court Reporter:         Mary Butenshoen
                  U. S. Attorney:         Ron Huber, Heather Carlton
                  USPO:                   Kim Falatic
                  Case Agent:             Devin Taylor, FBI
                  Interpreter:            none


  PROCEEDINGS:
  PTM/PTC
  Court addresses parties – will address every outstanding motion filed in this case by written order next
  week.
  Discussion of issue re Mr. Ferguson – Mr. Heblich present, Ms. Black not. Deshaun Trent/Mr.
  Kowalczuk raises issue of subpoena. Court notes another PTC hearing coming up and of course, trial,
  should subpoena be issued. Court wants to start with 404b issue/Queen (by proffer). Mr. Ferguson now
  present – court asks Deshaun Trent/Mr. Kowalczuk what needs to be done procedurally, asks Mr. Heblich
  to come to podium. Court addresses issues with acceptance of PA, vacating the PA. Mr. Heblich states
  Mr. Ferguson does not wish to w/d his GP, and that the only change in the SOF, if submitted today,
  would only remove two words. Mr. Ferguson states he still wishes to plead guilty. Court vacates
  acceptance of Mr. Ferguson’s GP by oral order; will conduct new, more fulsome colloquy. Mr. Heblich
  raises issue of continuing representation of this dft in this case due to issue with former FPD employee –
  not moving at this time for w/d, but raising that issue. Court addresses that concern. Court sees no
  conflict. US agrees. Response from defendants. Mr. Heblich responds. Mr. Heblich doesn’t see
  conflict. Court asks US for suggestions/guidance on dealing with issue. Mr. Turk raises concern about




Case 4:18-cr-00011-MFU-RSB Document 752 Filed 09/13/19 Page 1 of 3 Pageid#: 4478
  Mr. Ferguson listening to counsel’s current discussion – Mr. Ferguson excluded. Deshaun Trent/Mr.
  Kowalczuk intends to issue service of subpoena for 9/27 hearing. Marcus Davis/Mr. Anderson responds,
  court asks what counsel proposes it should do. Kanas Trent/Ms. Lepold responds – asks to revisit issue
  after new colloquy after evidentiary hearing held on issue. Kevin Trent/Mr. Cook – responds this is an
  issue for trial. US/Ms. Carlton wants to clarify 8/30 letter to alleviate confusion. Court asks defense
  counsel about scheduling re evidentiary hearing – court wants all dfts present, wants to hear from Mr.
  Ferguson, wants Ms. Black to be summonsed, and does not think new Rule 11 hearing should be before
  evidentiary; FBI agent involved. Court denies [716] bill of particulars. Deshaun Trent/Mr. Kowalczuk
  asks to table 404b issues until 9/27. Court advises Mr. Heblich to file a motion to w/d if he needs to.
  Marcus Davis/Mr. Davis raises issue. US responds referring to US Ex 1627. Court asks if proffer could be
  made or if US intends to put on evidence – US states preference by proffer. US makes proffer. Deshaun
  Trent/Mr. Kowalczuk responds re 404b issue. Marcus Davis/Mr. Davis responds. Court rules as stated on
  record. Court will not strike this evidence and overrules objections. Ms. Lepold starts to address issue of
  character evidence, US pre-empts with explanation. Ms. Lepold addresses. US will make Giglio
  disclosures. Mr. Daniels has question about timing relative to next hearing. Court addresses US use of
  specific evidence – argument by Mr. Houchens, US. Mr. Kowalczuk addresses document that Mr.
  Houchens concerned with. Mr. Cook unsure of admissibility for other dfts, but admissible for Mr. Kevin
  Trent. Court asks Mr. Grimes about transcript issue with Ms. Ross – Mr. Grimes asks for another hearing
  for those objections. Court asks what those objections are. Mr. Grimes has redacted/unredacted
  transcipts. US has redacted GJ transcripts for trial exhibits. US Ex 1800 at issue. Court will set hearing
  and will notice all parties so that they may appear voluntarily, but will not require attendance. Recess
  12:03. Reconvene 12:27. Mr. Kowalczuk addresses FB texts/attachment, concerned with identification
  of attachment – who wrote them. US responds. Court responds. Mr. Kowalczuk addresses ECF 732
  motion for bill of particulars. US responds. Mr. Kowalczuk has additional argument. ECF 735- Marcus
  Davis/Mr. Anderson – Mr. Anderson states resolved, not asking court to make ruling on motion at this
  time. Same with ECF 732. Mr. Kowalczuk has additional concern. US responds – ECF 656, Mr.
  Kowalczuk’s response is ECF 666. Court rules as stated on record. Mr. Davis raises issue re status of
  technology in courtroom – JERS order filed at ECF 617. Mr. Kowalczuk has one other motion re US jury
  instructions. Requesting to have until 10/7 to respond to US instructions. US response, doesn’t oppose
  extension of time but would prefer ddl prior to start of trial. Court will give until 10/1. Mr. Diviney filed
  obj re phones, bandana on behalf of his client that was not on list of things to cover – addresses now. US
  responds that this was responded to in omnibus response. Court will review again. Mr. Diviney has
  further argument. Written ruling forthcoming. Court will address exhibit issues in written order. Court
  addresses parties re jury selection and questionnaires. Discussion re jury selection process. Ms. Bright to
  create random list to divide into the six panels. Court recaps for parties.




Case 4:18-cr-00011-MFU-RSB Document 752 Filed 09/13/19 Page 2 of 3 Pageid#: 4479
Case 4:18-cr-00011-MFU-RSB Document 752 Filed 09/13/19 Page 3 of 3 Pageid#: 4480
